 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.1   Page 1 of 31




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
MITCHELL WASILEWSKI,
on behalf of himself and all other persons
similarly situated, known and unknown,
              Plaintiff,
                                                 Case No:
vs.                                              Hon.
                                                 Magistrate Judge

SILVERSTAR DELIVERY LTD, an
Illinois for-profit company, GOLD
STANDARD TRANSPORTATION,
INC., an Illinois for-profit company, and
AMAZON.COM, LLC, a Delaware for-
profit company,
             Defendants.
__________________________________________________________________/
Bryan Yaldou (P70600)
LAW OFFICES OF BRYAN YALDOU, PLLC
23000 Telegraph, Suite 5
Brownstown, MI 48134
Phone: (734) 692-9200
Fax: (734) 692-9201
Bryan@yaldoulaw.com
Attorneys for Plaintiff
__________________________________________________________________/
             PLAINTIFF’S COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff Mitchell Wasilewski (“Plaintiff Wasilewski”), by and

through his attorneys, The Law Offices of Bryan Yaldou, PLLC, and for his

Complaint against Silverstar Delivery, LTD (“Defendant Silverstar”); Gold



                                             1
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18       PageID.2   Page 2 of 31




Standard Transportation, Inc. (“Defendant Gold Standard”); and Amazon.com, Inc.

(“Defendant Amazon”), and hereby alleges the following:

                       INTRODUCTORY STATEMENT
      1.    This is a civil action seeking relief under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq. and the Michigan Workforce Opportunity Act

(“WOWA”), MCL § 408.411 et seq. Plaintiff is a former employee of Defendants

whose rights under these statutes have been violated and he now seeks to recover the

benefits due to him from Defendants under the FLSA and the WOWA as a result of

Defendants’ failure to pay at least the minimum wage for all hours worked and

overtime wages to Plaintiff.

      2.    Plaintiff seeks a declaration that his rights under the FLSA and the

WOWA have been violated, an award of the unpaid wages owed to him, an award

of liquidated damages in an amount equal to the unpaid wages owed to him, and an

award of reasonable attorney’s fees and costs, as provided for in the FLSA and the

WOWA, in order to compensate him for damages suffered and to ensure that he and

future employees will not suffer as a result of such illegal conduct on the part of

Defendants in the future.

                            JURISDICTION AND VENUE
      3.    This Court has federal question jurisdiction over Plaintiff’s FLSA

claims pursuant to 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.



                                         2
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18          PageID.3    Page 3 of 31




       4.     This Court has supplemental jurisdiction over Plaintiff’s state law

claims under the WOWA, pursuant to 28 U.S.C. § 1367, because these claims are so

related to Plaintiff’s federal law claims that they form part of the same case or

controversy under Article III of the United States Constitution.

       5.     Venue is proper in this District, pursuant to 28 U.S.C. § 1391(a) and

§ 1391(b), because Plaintiff worked for Defendants in this District and suffered the

damages at issue in this District, Defendants have significant business contacts

within this District, and because the actions and events giving rise to Plaintiff’s

claims occurred in this District.

                                      PARTIES
       6.     Plaintiff is an adult citizen of the State of Michigan, who resides in this

judicial district.

       7.     Plaintiff worked as delivery driver for Defendants’ for-profit businesses

in this judicial district.

       8.     Defendant Silverstar is a for-profit Illinois company with its main office

at 13756 S. Kildare Ave. Crestwood, IL 60445.

       9.     Defendant Silverstar has significant contacts with this judicial district

because it operated or operates a transportation and logistics business in this judicial

district.




                                            3
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18           PageID.4    Page 4 of 31




      10.    Defendant Gold Standard is a for-profit Illinois company with its main

office at 13756 S. Kildare Ave. Crestwood, IL 60445.

      11.    Defendant Gold Standard has significant contacts with this judicial

district because it contracted out work to businesses in this district and/or employed

drivers in the transportation and logistics business in this judicial district.

      12.    Defendant Amazon is a Delaware Limited Liability Company.

      13.    Defendant Amazon is one of the largest internet retailers in the world

and does a significant amount of business in this judicial district.

                              NATURE OF THE SUIT
      14.    Defendant Amazon offers a range of products and services through its

websites. The company’s products include merchandise and content that it purchases

for resale from vendors and those offered by third-party sellers. Defendant Amazon

is renowned for its extremely fast delivery of products ordered through its website,

www.amazon.com.

      15.    In order to provide fast delivery to customers throughout the United

States, Amazon has engaged subcontracting companies to hire and oversee delivery

drivers for the purpose of delivering its packages to its retail customers.

      16.    Upon information and belief, Defendant Amazon contracts with

Defendant Gold Standard in order to either obtain delivery driving services or to

oversee the delivery driving process or both throughout its warehouses.


                                            4
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18        PageID.5   Page 5 of 31




      17.   Defendant Silverstar is a company that hires delivery drivers to service

Defendant Amazon’s warehouses. Upon information and belief, either Defendant

Amazon or Defendant Gold Standard or both Defendant Amazon and Defendant

Gold Standard contract with Defendant Silverstar to obtain delivery drivers for

Defendant Amazon.

      18.   Plaintiff Wasilewski was a delivery driver in this fissured employment

scheme.

      19.   One of the most significant issues in this case is the status of Defendant

Amazon and Defendant Gold Standard as joint employers. Defendant Amazon uses

a corporate structure which is commonly referred to as the “fissured workplace.”

(Exhibit B). Plaintiff’s complaint is a part of a movement challenging the fissured

workplace scheme that often causes American workers to be denied their rights

under the FLSA. See, e.g., Hall v. DIRECTV, LLC, 846 F.3d 757, 772 (4th Cir.

2017). In recent years, the employment relationship between workers and businesses

receiving the benefit of their labor has fissured apart as companies have contracted

out or otherwise shed activities to be performed by other businesses. (Exhibit B).

The blurred lines from the fissured workplace make achieving compliance with the

wage and hour laws a difficult task. Id. Intense competition between subcontracting

companies leads to low pay and noncompliance pulls down standards for all. These

falling standards make it difficult for responsible employers to survive in low

                                         5
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18        PageID.6    Page 6 of 31




margin, fiercely competitive conditions. Id. The costs in this race to be the lowest

bidder are ultimately borne by workers deprived of their wages and their rights. Id.

      20.    The question of whether two or more entities can be joint employers is

not new. While the FLSA does not expressly reference “joint employment,” the

Department of Labor’s first set of regulations implementing the statute – which

remain in force – recognizes that, “[a] single individual may stand in the relation of

an employee to two or more employers at the same time under the Fair Labor

Standards Act of 1938 . . . [I]f the facts establish that the employee is employed

jointly by two or more employers, i.e., that employment by one employer is not

completely disassociated from employment by the other employer(s), all of the

employee’s work for all of the joint employers during the workweek is considered

as one employment for purposes of the Act. In this event, all joint employers are

responsible, both individually and jointly, for compliance with all of the applicable

provisions of the act, including the overtime provisions, with respect to the entire

employment for the particular workweek.” 29 C.F.R. § 791.2(a) (emphasis added).

      21.    The U.S. Supreme Court has long recognized that two or more entities

may constitute joint employers for purposes of the FLSA. Rutherford Food Corp. v.

McComb, 331 U.S. 722, 724-25 (1947); Falk v. Brennan, 414 U.S. 190 (1973).

      22.    Additionally, courts within the Eastern District of Michigan have also

recognized joint employment doctrine in the FLSA context. Ali v. Piron, LLC, No.

                                          6
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.7   Page 7 of 31




17-11012, 2018 U.S. Dist. LEXIS 37108 (E.D. Mich. Mar. 7, 2018) (Exhibit F);

Parrott v. Marriott Int’l, Inc., No. 17-10359, 2017 U.S. Dist. Lexis 144277, 2017

WL 3891805 (E.D. Mich. 2017) (Exhibit I); and Dowd v. DirectTV, LLC, No. 14-

14018, 2016 U.S. Dist. Lexis 36, 2016 WL 28866 (E.D. Mich. 2016) (Exhibit H).

      23.    Plaintiff Wasilewski similarly intends to prove in this litigation that he

was jointly employed by Defendants; was entitled to the overtime protections of the

FLSA; was entitled to the minimum wage and overtime wage protections of the

WOWA; and is owed damages for Defendants’ willful violations of both the FLSA

and the WOWA.

                    STATEMENT OF MATERIAL FACTS
      24.    Defendant Silverstar is a subcontracting company that, upon

information and belief, contracted with Defendant Amazon and/or Defendant Gold

Standard to provide driving and delivery services to Defendant Amazon’s retail

customers and to local post offices.

      25.    Upon information and belief, Silverstar and Gold Standard have a

substantial business relationship.

      26.    Silverstar and Defendant Gold Standard share their main office space,

located at 13756 S. Kildare Ave. Crestwood, IL 60445. (Exhibit C,

http://gstransinc.com/contact-us/ (last accessed Jun. 18, 2018)) and (Exhibit D,

https://forwardp.wufoo.com/forms/zn4xggh0ouu82q/ (last accessed Jun. 18, 2018)).


                                          7
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18        PageID.8   Page 8 of 31




      27.    Upon information and belief, Silverstar and Gold Standard share a

human resources department and personnel. (Exhibit A). Plaintiff knows that

Silverstar and Gold Standard share a human resources department because he had a

pay issue in which he attempted to contact the human resources department for

Silverstar, but ended up talking with a woman who worked for both Silverstar and

Gold Standard. The first day Plaintiff was supposed to receive a paycheck, his check

was not received through the direct deposit system. Id. Plaintiff was concerned that

he was not going to get paid and therefore called the human resources department in

Chicago, IL. Id. The human resources employee told Plaintiff that she worked for

both Silverstar and Gold Standard and she was able to help Plaintiff resolve his pay

issue. Id. The human resources woman explained Silverstar and Gold Standard’s

business relationship to Plaintiff, which to Plaintiff it sounded like Gold Standard

was a parent company of Silverstar. Id.

      28.    Additionally, Gold Standard advertises positions with Silverstar and

recruits        workers          for          Silverstar.       (Exhibit          E,

https://www.facebook.com/goldstandardtrucking/posts/1284817824879980            (last

accessed Jun. 18, 2018).

      29.    Plaintiff found out about the position as a delivery driver from an

advertisement online. (Exhibit A, ¶ 3).




                                          8
 Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.9    Page 9 of 31




       30.    Plaintiff filled out an application online and was contacted by a man

named John from Chicago, IL. (Exhibit A, ¶ 4 – 5). It is unclear whether John worked

for Silverstar, Gold Standard, or both Silverstar and Gold Standard.

       31.    John arranged a meeting between Plaintiff and a man named Kou at the

Amazon warehouse in Brownstown, MI. (Exhibit A, ¶ 6). Kou worked as a manager

for Silverstar.

       32.    Kou told Plaintiff that the delivery driver position paid $140.00 per day

on the week days and $165.00 per day on the weekends. (Exhibit A, ¶ 7). Kou told

Plaintiff that delivery drivers did not work more than 10 hours a day and that the pay

would be at least $14.00 per hour on the week days and $16.50 per hour on the

weekends. Id.

       33.    Plaintiff filled out W-2 documents, a direct deposit form, and a waiver

necessary for using Amazon’s “Rabbit” handheld device. (Exhibit A, ¶ 11). He sent

the information to a woman who worked in the Human Resources department in

Chicago, IL. Id.

       34.    After Plaintiff accepted the job with Silverstar, Silverstar required

Plaintiff to watch an instructional video created by Amazon about becoming a

delivery driver for Amazon. (Exhibit A, ¶ 12). The video gave drivers instructions

on what to expect in the new position including information about Amazon’s policies

and operations. Id.

                                           9
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.10    Page 10 of 31




         35.   Plaintiff generally worked five or six days a week and worked between

60 hours and 80 hours a week. (Exhibit A, ¶ 16). The typical day took between 12

and 14 hours, with some days taking as long as 18 hours. Id.

         36.   Plaintiff would pick up his truck from Silverstar dispatchers in the lot

next to the Amazon warehouse at 5:30 a.m. before each shift. (Exhibit A, ¶ 9, 20).

Silverstar dispatchers would assign the drivers a route number and a dock number

to pick up their packages for the day. (Exhibit A, ¶ 25). At that time, Silverstar would

also give the drivers the Rabbit device. (Exhibit A, ¶ 26). The Silverstar dispatchers

wore Amazon shirts and drivers were required to wear Amazon hats. (Exhibit A, ¶¶

22, 24).

         37.   Plaintiff picked up his packages to deliver for the day at the Amazon

warehouse. (Exhibit A, ¶¶ 27 – 30). Plaintiff was required to wear an Amazon I.D.

badge to enter the facility and clocked-in using a hand scanner (Exhibit A, ¶¶ 23, 27

– 28).

         38.   Amazon Rabbits are handheld devices which were used by delivery

drivers for delivering packages to Amazon’s customers. (Exhibit A, ¶¶ 31 – 34). To

use the Rabbit, drivers entered their credentials, which included an e-mail address

and a password. Id. From there, their routes would be uploaded. Id. The Rabbit acted

as a GPS, telling the drivers exactly where to go to drop off each package. Id. Once

at the location, the driver would scan the package and with the Rabbit and the Rabbit

                                           10
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18        PageID.11    Page 11 of 31




would confirm that the package was at the correct location. Id. Then the driver would

take the package to the home or business and go to the next location provided for on

the Rabbit. Id.

      39.    Credentials were used to track drivers’ performance. (Exhibit A, ¶ 33).

If a package was lost or stolen, there would be a mark against a driver’s credentials

called a “concession.” Id. If a driver had too many concessions against his or her

credentials, then Amazon could drop the driver. Id. Silverstar only employed drivers

in the State of Michigan that could drive as delivery drivers for Amazon. Therefore,

if Amazon said the driver could no longer deliver Amazon packages, the driver

would be fired. Id.

      40.    The Rabbit had an application that allowed the driver to call Amazon if

they experienced any difficulties on the road. (Exhibit A, ¶ 38). Amazon and

Silverstar instructed the drivers to use the application and call in when they were on

the road.

      41.    The Rabbit device was also used to track drivers’ progress throughout

the day. (Exhibit A, ¶ 40). Upon information and belief, Silverstar dispatchers could

access reports generated by Amazon to monitor drivers’ progress. Silverstar

dispatchers would call the drivers if they were behind pace. Id. Often, drivers would

struggle with getting access into apartment buildings that were locked or getting into

government buildings with security. (Exhibit A, ¶¶ 38 – 40). These extra steps would

                                         11
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18           PageID.12    Page 12 of 31




slow the drivers down and Amazon’s expectation software did not account for these

real-world slowdowns. Id.

      42.    Amazon had a policy stating that delivery drivers could not bring any

packages back to the warehouse, unless there was an extraordinary undeliverable

circumstance. Because of this policy, drivers had to make sure each package was

delivered throughout the day. (Exhibit A, ¶ 41). This policy was enforced by

Silverstar and by Amazon.

      43.    If drivers were behind pace, Silverstar would send “rescue” drivers to

help the drivers deliver all of their packages. (Exhibit A, ¶ 17 – 18, 40, 41). Silverstar

would call delivery drivers who had completed their routes and instruct them to help

the other drivers who had not finished their routes. Id. This rescue work was

mandatory and therefore drivers could not refuse to perform the work. Id. Drivers

were required to perform this work, even though they were not compensated for the

extra time it took them. Id.

      44.    Silverstar moved its operation from Brownstown, MI to Hazel Park, MI

in October 2017. (Exhibit A, ¶ 45). All of the same pay policies and practices

occurred at both locations. Id.

      45.    Plaintiff Wasilewski stopped working for Silverstar in January 2018

when Silverstar pulled out of the Michigan Amazon warehouses. (Exhibit A, ¶ 46).




                                           12
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18          PageID.13    Page 13 of 31




One night, a manager called Plaintiff and said, “Silverstar pulled out and took all of

the vans back to Chicago, IL” and that Plaintiff no longer had a job. Id.

         46.   On or near the day after the phone call, Plaintiff Wasilewski checked

his online portal and it said that the administration had locked his account. Plaintiff

couldn’t access any of his time or pay records after they locked him out. (Exhibit A,

¶ 47).

         47.   Although drivers were told that they would only work 10 hours a shift,

they worked significantly more hours at the same flat rate and they never received

time and a half for hours worked in excess of 40 hours in a workweek.

                    COLLECTIVE ACTION ALLEGATIONS
   FLSA Collective Action Claims Brought Pursuant to 29 U.S.C. § 216(b)

         48.   Plaintiff brings the FLSA claims (Counts I-III) in this action as a

collective action under 29 U.S.C. § 216(b).

         49.   Plaintiff asserts these claims on behalf of himself and on behalf of all

similarly situated delivery drivers.

         50.   Plaintiff seeks to notify the following employees of their right under 29

U.S.C. § 216(b) to join this action by filing in this Court written notice of their

consent to join the action:

               All individuals who worked at any time during the past
               three years for Defendant Silverstar as delivery drivers out
               of the Amazon warehouses in Brownstown, MI or Hazel
               Park, MI.

                                           13
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.14    Page 14 of 31




      51.    The FLSA provides for a three-year statute of limitations for causes of

action arising out of a willful violation of that Act. 29 U.S.C. § 255. As alleged

above, Plaintiff’s and similarly situated employees’ claims arise out of Defendants’

willful violations of the FLSA. Accordingly, the Court should require appropriate

notice of this action be given to all similarly situated delivery drivers within three

years before the filing of this Complaint.

      52.    Upon information and belief, Defendant Silverstar has employed many

similarly situated delivery drivers during the time period relevant to this action.

      53.    The identities of these employees, as a group, are known only to

Defendants. Because the numerous members of this collective action are unknown

to Plaintiff, joinder of each member is not practicable.

      54.    Plaintiff asks this Court to require Defendants to furnish Plaintiff with

the contact information of other similarly situated delivery drivers pursuant to 29

U.S.C. § 216(b), for the purpose of collectively adjudicating their FLSA claims.

      55.    Collective adjudication is appropriate in this case because the

employees who Plaintiff wishes to notify of this action have been employed in the

same position as Plaintiff; have performed work similar to that of Plaintiff; have

been subject to the same policies and procedures as Plaintiff; and have been subject

to compensation practices similar to those which form the basis of Plaintiff’s case,

including unlawful failure to pay the overtime premiums under the FLSA.
                                          14
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.15   Page 15 of 31




                              CLASS ACTION CLAIMS
 Class Action Claims Brought Pursuant to Federal Rules of Civil Procedure
                                Rule 23

      56.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though full set forth herein.

      57.    Plaintiff seeks to certify his state law claims arising under WOWA

(Counts IV – IX) as a Federal Rule of Civil Procedure Rule 23 Class Action.

      58.    The class which Plaintiff seeks to certify as a Fed. R. Civ. P. Rule 23

Class Action is defined as:

             All individuals who worked at any time during the past
             three years for Defendant Silverstar as delivery drivers out
             of the Amazon warehouses in Brownstown, MI or Hazel
             Park, MI.

      59.    A class action under Fed. R. Civ. P. Rule 23 is appropriate because:

             A.       The class is so numerous that joinder of class members is

             impracticable. While the precise number of Class Members has not

             been determined at this time, Plaintiff believes that Defendant

             Silverstar has employed over 100 delivery drivers during the last three

             years;

             B.       There are questions of law or fact common to the class and those

             common questions of law or fact predominate over any questions




                                           15
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18     PageID.16    Page 16 of 31




           affecting only individual class members. These common questions of

           law and fact include, without limitation:

                 (i)     Whether Defendants jointly employed the Plaintiff and

                 the Class Members;

                 (ii)    Whether Plaintiff and the Class Members were entitled to

                 the state minimum wage under WOWA;

                 (iii)   Whether Defendants failed to pay the Class Members at

                 least the state minimum wage for all hours that they worked in

                 violation of WOWA;

                 (iv)    Whether Plaintiff and the Class Members were entitled to

                 one and one-half times their regular rate of pay for all time

                 worked in excess of 40 hours in a workweek under the WOWA;

                 (v)     Whether Plaintiff and the Class Members worked hours

                 in excess of 40 hours a workweek; and

                 (vi)    Whether Defendants failed to pay Plaintiff and the Class

                 Members at one and one-half times their regular rate of pay for

                 all time worked in excess of 40 hours in a workweek in

                 violation of the WOWA.

           C.    The Plaintiff and Class Members have been equally affected by

           Defendants’ failure to pay minimum wage and overtime wages making

                                       16
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.17   Page 17 of 31




             the claims and defenses of Plaintiff typical of those of the Class

             Members; and

             D.       The Class Representatives will fairly and adequately protect the

             interests of the Class Members because they have a commonality of

             interest in the subject matter and remedies sought. If individual actions

             were required to be brought by each member of the class injured or

             affected, the result would be a multiplicity of actions creating a

             hardship on the Class Members, Defendants, and the Court.

      60.    Therefore, a Rule 23 class action is an appropriate method for the fair

and efficient adjudication of this lawsuit.

                                       COUNT I
Defendant Silverstar - Violation of the Overtime Wage Provision of the FLSA

      61.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      62.    Plaintiff was an “employee” of Defendant Silverstar, as that term is

defined by the FLSA, 29 U.S.C. § 203(e), because Defendant Silverstar “suffered or

permitted” him to work for it.

      63.    Defendant Silverstar was Plaintiff’s “employer,” as defined by the

FLSA, 29 U.S.C. § 203(d), because Defendant Silverstar “suffered or permitted”

him to work for it.


                                           17
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18          PageID.18    Page 18 of 31




      64.      Defendant Silverstar is an “enterprise” as defined by the FLSA, 29

U.S.C. § 204(r)(1), and is engaged in processing and handling of goods which

moved in interstate commerce within the meaning of the FLSA. 29 U.S.C.

§ 203(s)(1).

      65.      Defendant Silverstar is a covered employer under the FLSA and is

required to comply with the requirements of the FLSA, including the overtime wage

provision § 207.

      66.      Section 207 of the FLSA requires that employers pay their employees

at least one and one-half times their regular rate of pay for hours worked over 40

hours in a workweek.

      67.      Plaintiff was not exempt from the overtime wage provision of the

FLSA and therefore was entitled to the protections of the statute.

      68.      Defendant Silverstar has failed to pay Plaintiff at least the one and one-

half times his regular rate of pay for all hours he worked in excess of 40 hours in a

workweek in violation of the FLSA.

      69.      In addition to compensatory damages for his unpaid wages, Plaintiff is

owed liquidated damages in an amount equal to his compensatory damages pursuant

to the FLSA, 29 U.S.C. § 216(b), and his reasonable attorney’s fees, to be paid by

the Defendant Silverstar for its willful failure to pay at least the overtime wage

protections for all hours worked in excess of 40 hours in a workweek.

                                           18
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.19   Page 19 of 31




                                    COUNT II
 Defendant Gold Standard - Violation of the Overtime Provision of the FLSA

      70.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      71.    Defendant Gold Standard was Plaintiff’s joint employer.

      72.    Upon information and belief, Defendant Amazon contracted out work

through Defendant Gold Standard to oversee delivery drivers who delivered

Defendant Amazon’s products to Defendant Amazon’s customers. In its position

overseeing delivery drivers, Defendant Gold Standard either set a number of policies

and procedures that it enforced, or enforced a number of Defendant Amazon’s

policies and procedures.

      73.    Upon information and belief, Defendant Gold Standard advertised and

recruited for Defendant Silverstar. In its position within the hiring process,

Defendant Gold Standard, either formally or as a matter of practice, shared or was

allocated power to hire drivers for Defendant Silverstar.

      74.    Upon information and belief, Defendant Gold Standard shares human

resource employees with Defendant Silverstar. In its human resource position,

Defendant Gold Standard, either formally or as a matter of practice, shares or

allocates responsibility over functions ordinarily carried out by an employer, such

as handling payroll.


                                         19
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18       PageID.20   Page 20 of 31




      75.   In this fissured employment scheme, Defendant Gold Standard was not

completely disassociated from Defendant Silverstar and Defendant Amazon. This

lack of complete disassociation demonstrates that Defendant Gold Standard was a

joint employer of Plaintiff and the putative class members with Defendant Silverstar

and Defendant Amazon. See, 29 C.F.R. § 791.2(a); Salinas v. Commercial Interiors,

Inc., 848 F3d 125, 141 (4th Cir. 2017).

      76.   Additionally, other courts have acknowledged that intermediaries in

this fissured employment scheme can be liable under the FLSA for wage violations.

See e.g., Ali v. Piron, LLC, No. 17-11012, 2018 U.S. Dist. LEXIS 37108 (E.D. Mich.

Mar. 7, 2018) (denying defendant intermediary’s motion to dismiss which argued

that it was not a joint employer under FLSA and therefore not liable to any unpaid

wages under the statute) (Exhibit F); Perez v. Lantern Light Corp., No. 12-01406,

2015 U.S. Dist. LEXIS 69933, 2015 WL 3451268, at *3 (W.D. Wash. May 29, 2015)

(stating that where a company has contracted for workers who are directly employed

by an intermediary, courts apply a joint employment analysis) (Exhibit J); Carrillo

v. Schneider Logistics Trans-Loading & Distrib., Inc., No. 11-8557, 2014 U.S. Dist.

LEXIS 5379, 2014 WL 183956, at *9-15 (C.D. Cal. Jan. 14, 2014) (denying

defendant’s motion for summary judgment because plaintiffs had presented

sufficient evidence to create a question of material fact as to the joint employment




                                          20
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.21    Page 21 of 31




status under the FLSA of an intermediary company which staffed Walmart

warehouses with workers). (Exhibit G).

      77.    Defendant Gold Standard is an “enterprise” as defined by the FLSA,

29 U.S.C. § 204(r)(1), and is an enterprise engaged in processing and handling of

goods which moved in interstate commerce within the meaning of the FLSA.

29 U.S.C. § 203(s)(1).

      78.    Defendant Gold Standard is a covered employer and therefore is

required to comply with the requirements of the FLSA, including the overtime wage

requirement § 207.

      79.    Section 207 of the FLSA requires that employers pay their employees

at least one and one-half times their regular rate of pay for all hours worked in excess

of 40 hours in a workweek.

      80.    Plaintiff was not exempt from the overtime wage provision of the FLSA

and therefore was entitled to the protections of the statute.

      81.    Defendant Gold Standard has failed to pay Plaintiff at least one and

one-half times his regular rate of pay in violation of the FLSA.

      82.    In addition to compensatory damages for his unpaid wages, Plaintiff is

owed liquidated damages in an amount equal to his compensatory damages pursuant

to the FLSA, 29 U.S.C. § 216(b), and his reasonable attorney’s fees, to be paid by

the Defendant Gold Standard for its willful failure to pay Plaintiff at least one and

                                          21
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.22    Page 22 of 31




one-half times his regular rate of pay for all hours worked in excess of 40 hours in a

workweek.

                                    COUNT III
    Defendant Amazon - Violation of the Overtime Provision of the FLSA

      83.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      84.    Defendant Amazon was Plaintiff’s joint employer. Defendant Amazon

contracted out work through subcontracting companies like Defendant Silverstar and

Defendant Gold Standard in order to deliver Amazon products to Amazon

customers. Defendant Amazon set a number of policies and procedures that it

enforced through Defendant Silverstar and Defendant Gold Standard.

      85.    In this fissured employment scheme, Defendant Amazon was not

completely disassociated from Defendant Silverstar and Defendant Amazon; but

rather, formally or as a matter of practice, determined, shared, or allocated the power

to direct, control, or supervise Plaintiff and the putative class members, whether by

direct or indirect means with Defendant Silverstar and Defendant Gold Standard.

Additionally, Plaintiff and the putative class members performed work at Defendant

Amazon’s warehouse. This demonstrates that Defendant Amazon was a joint

employer of Plaintiff and the putative class members. See, 29 C.F.R. § 791.2(a);

Salinas v. Commercial Interiors, Inc., 848 F3d 125, 141 (4th Cir. 2017); Ali v. Piron,


                                          22
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.23    Page 23 of 31




LLC, No. 17-11012, 2018 U.S. Dist. LEXIS 37108 (E.D. Mich. Mar. 7, 2018)

(Exhibit F).

      86.      Defendant Amazon is an “enterprise” as defined by the FLSA,

29 U.S.C. § 204(r)(1), and is an enterprise engaged in processing and handling of

goods which moved in interstate commerce within the meaning of the FLSA.

29 U.S.C. § 203(s)(1).

      87.      Defendant Amazon is a covered employer and therefore is required to

comply with the requirements of the FLSA, including the overtime wage

requirement § 207.

      88.      Section 207 of the FLSA requires that employers pay their employees

at least one and one-half times their regular rate of pay for all hours worked in excess

of 40 hours in a workweek.

      89.      Plaintiff was not exempt from the overtime wage provision of the FLSA

and therefore was entitled to the protections of the statute.

      90.      Defendant Amazon has failed to pay Plaintiff at least one and one-half

times his regular rate of pay in violation of the FLSA.

      91.      In addition to compensatory damages for his unpaid wages, Plaintiff is

owed liquidated damages in an amount equal to his compensatory damages pursuant

to the FLSA, 29 U.S.C. § 216(b), and his reasonable attorney’s fees, to be paid by

the Defendant Amazon for its willful failure to pay Plaintiff at least one and one-half

                                          23
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18       PageID.24   Page 24 of 31




times his regular rate of pay for all hours worked in excess of 40 hours in a

workweek.

                                   COUNT IV
   Defendant Silverstar - Violation of the Minimum Wage Provision of the
                                   WOWA

      92.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      93.    Plaintiff was Defendant Silverstar’s “employee” as that term is defined

by the WOWA, MCL § 408.412.

      94.    Defendant Silverstar was Plaintiff’s “employer” as that term is defined

by the WOWA, MCL § 408.412.

      95.    Defendant Silverstar knowingly, intentionally, and willfully failed to

pay Plaintiff and the putative class members at least the Michigan minimum wage

for all hours worked, in violation of the WOWA, MCL § 408.414.

      96.    As a result of Defendant Silverstar’s failure to pay Plaintiff the

applicable Michigan minimum wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.




                                        24
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18       PageID.25   Page 25 of 31




                                    COUNT V
    Defendant Silverstar - Violation of the Overtime Wage Provision of the
                                    WOWA

      97.    Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      98.    Plaintiff was Defendant Silverstar’s “employee” as that term is defined

by the WOWA, MCL § 408.412.

      99.    Defendant Silverstar was Plaintiff’s “employer” as that term is defined

by the WOWA, MCL § 408.412.

      100. Defendant Silverstar knowingly, intentionally, and willfully failed to

pay Plaintiff and the putative class members at least the Michigan overtime wage for

hours worked in excess of 40 hours in a workweek, in violation of the WOWA, MCL

§ 408.414(a).

      101. As a result of Defendant Silverstar’s failure to pay Plaintiff the

applicable Michigan overtime wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.




                                        25
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18     PageID.26   Page 26 of 31




                                  COUNT VI
Defendant Gold Standard - Violation of the Minimum Wage Provision of the
                                WOWA

      102. Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      103. Plaintiff was Defendant Gold Standard’s “employee” as that term is

defined by the WOWA, MCL § 408.412.

      104. Defendant Gold Standard was Plaintiff’s “employer” as that term is

defined by the WOWA, MCL § 408.412.

      105. Defendant Gold Standard knowingly, intentionally, and willfully failed

to pay Plaintiff and the putative class members at least the Michigan minimum wage

for all hours worked, in violation of the WOWA, MCL § 408.414.

      106. As a result of Defendant Gold Standard’s failure to pay Plaintiff the

applicable Michigan minimum wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.




                                       26
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18      PageID.27   Page 27 of 31




                                  COUNT VII
    Defendant Gold Standard - Violation of the Overtime Provision of the
                                 WOWA

      107. Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      108. Plaintiff was Defendant Gold Standard’s “employee” as that term is

defined by the WOWA, MCL § 408.412.

      109. Defendant Gold Standard was Plaintiff’s “employer” as that term is

defined by the WOWA, MCL § 408.412.

      110. Defendant Gold Standard knowingly, intentionally, and willfully failed

to pay Plaintiff and the putative class members at least the Michigan overtime wage

for hours worked in excess of 40 hours in a workweek, in violation of the WOWA,

MCL § 408.414(a).

      111. As a result of Defendant Gold Standard’s failure to pay Plaintiff the

applicable Michigan overtime wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.




                                        27
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18      PageID.28   Page 28 of 31




                                  COUNT VIII
    Defendant Amazon - Violation of the Minimum Wage Provision of the
                                 WOWA

      112. Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      113. Plaintiff was Defendant Amazon’s “employee” as that term is defined

by the WOWA, MCL § 408.412.

      114. Defendant Amazon was Plaintiff’s “employer” as that term is defined

by the WOWA, MCL § 408.412.

      115. Defendant Amazon knowingly, intentionally, and willfully failed to pay

Plaintiff and the putative class members at least the Michigan minimum wage for all

hours worked, in violation of the WOWA, MCL § 408.414.

      116. As a result of Defendant Amazon’s failure to pay Plaintiff the

applicable Michigan minimum wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.




                                        28
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18         PageID.29    Page 29 of 31




                                     COUNT IX
   Defendant Amazon - Violation of the Overtime Provision of the WOWA

      117. Plaintiff hereby repeats and realleges all preceding paragraphs as

though fully set forth herein.

      118. Plaintiff was Defendant Amazon’s “employee” as that term is defined

by the WOWA, MCL § 408.412.

      119. Defendant Amazon was Plaintiff’s “employer” as that term is defined

by the WOWA, MCL § 408.412.

      120. Defendant Amazon knowingly, intentionally, and willfully failed to pay

Plaintiff and the putative class members at least the Michigan overtime wage for

hours worked in excess of 40 hours in a workweek, in violation of the WOWA, MCL

§ 408.414(a).

      121. As a result of Defendant Amazon’s failure to pay Plaintiff the

applicable Michigan overtime wage, Plaintiff is entitled to an award of damages,

including but not limited to, compensatory damages, liquidated damages in an

amount equal to his compensatory damages, costs of his lawsuit, and his reasonable

attorney’s fees pursuant to MCL § 408.419.

                              PRAYER FOR RELIEF
      WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated, respectfully requests that the Court grant the following relief:



                                          29
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18          PageID.30    Page 30 of 31




          A.   The actions of Defendants complained of herein be adjudicated,

decreed, and declared a violation of Defendants’ obligations under the FLSA;

          B.   Find that Defendants willfully violated the FLSA and WOWA, and

enter judgment in Plaintiff’s favor and accordingly against Defendants, jointly and

severally;

          C.   Certify the federal-law claims in this case as a collective action under

Section 16(b) of the FLSA, 29 U.S.C. § 216(b), and require that notice of their right

to join this action by filing with this Court written consent to do so be given to all of

Defendants’ workers who are similarly situated to Plaintiff;

          D.   Certify the state-law claims in this case as class action under Federal

Rules of Civil Procedure Rule 23 and authorize the right to opt-out of this action be

made public;

          E.   Declare the rights of the parties and provide commensurate injunctive

relief;

          F.   Award any compensatory damages due to Plaintiff for any unpaid

wages according to the applicable statutes of limitations, pursuant to the FLSA and

the WOWA;

          G.   Award liquidated damages to Plaintiff equal to the amount of unpaid

back wages, pursuant to the FLSA and the WOWA;




                                           30
Case 2:18-cv-12167-AJT-EAS ECF No. 1 filed 07/11/18            PageID.31    Page 31 of 31




      H.       Award prejudgment interest with respect to the total amount of unpaid

compensation to the extent permitted by applicable law;

      I.       Establish a constructive trust, until further order of the Court, consisting

of monies improperly withheld by Defendants due to its above-described improper

conduct;

      J.       Award reasonable attorney’s fees and costs to Plaintiff’s counsel as

allowed by applicable law and statute; and

      K.       Award such other and further relief as the Court deems just and

appropriate.

                                    JURY DEMAND
      NOW COMES Plaintiff Mitchell Wasilewski, by and through his attorneys,

THE LAW OFFICES       OF   BRYAN YALDOU, PLLC, on behalf of himself and others

similarly situated, and hereby demands a trial by jury of the above entitled matter.

/s/ Bryan Yaldou
Bryan Yaldou (P70600)
Elaina S. Bailey (P82461)
LAW OFFICES OF BRYAN YALDOU, PLLC
23000 Telegraph, Suite 5
Brownstown, MI 48134
Phone: (734) 692-9200
Fax: (734) 692-9201
bryan@yaldoulaw.com
Attorneys for Plaintiff

Dated: July 11, 2018

                                            31
